                      Case 21-12844-RAM       Doc 657     Filed 03/08/23     Page 1 of 2




       ORDERED in the Southern District of Florida on March 7, 2023.




                                                 Robert A. Mark, Judge
_____________________________________________________________________________
                                                 United States Bankruptcy Court




                                UNITED STATES BANKRUPTCY COURT
                                 SOUTHERN DISTRICT OF FLORIDA
                                         MIAMI DIVISION
                                        www.flsb.uscourts.gov

        In re:
                                                            Case No.: 21-12844-RAM
        HARRY B. GREENHOUSE,
                                                            Chapter 11
                 Debtor.                            /

                    ORDER DENYING POLYCHAIN’S MOTION FOR ALLOWANCE
                       AND PAYMENT OF FEES AND EXPENSES [ECF #633]
                 THIS CAUSE having come before the Court on Polychain’s Motion for Allowance and

       Payment of Fees and Expenses Incurred in Connection with Making a Substantial Contribution to

       the Debtor’s Chapter 11 Case for the Period of April 2, 2021 through February 24, 2023 [ECF

       #633] (the “Motion”) and the Debtor’s objection thereto [ECF #636], for the reasons stated on the

       record in the Court’s bench ruling on March 2, 2023, which are incorporated herein by reference,

       it is hereby ORDERED as follows:
             Case 21-12844-RAM         Doc 657      Filed 03/08/23     Page 2 of 2




       1.     The Motion is DENIED.

       2.     The Court retains jurisdiction to enforce and interpret this Order.

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Submitted by:
By: /s/ Nicole Grimal Helmstetter
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Order Copy to: Nicole Grimal Helmstetter, Esq., who is directed to serve a conforming copy of
this order on interested parties who do not receive service by CM/ECF and file a proof of service
within three days of entry of this order.
